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  AAS:JN/DKK/SME/MAAF.#2017R00850

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                x


  UNITED STATES OF AMERICA                          DEFERRED PROSECUTION
                                                    AGREEMENT
         - against -

  WANZHOU MENG,                                     Cr. No. 18-457 (S-3) (AMD)

                          Defendant.
                                                x
                 The United States Attorney’s Office for the Eastern District of New York, the

  Money Laundering and Asset Recovery Section of the Criminal Division of the U.S. Department

  of Justice (“DOJ”), and the DOJ’s National Security Division’s Counterintelligence and Export

  Control Section (collectively, the “Offices”) and the defendant WANZHOU MENG (“MENG”)

  agree as follows:

                 1.     The Offices agree to defer prosecution of MENG for the charges in the

  above-captioned third superseding indictment (the “Indictment”) for four years from the date of

  her arrest in Canada (the “deferral period”). MENG waives all rights to a speedy trial pursuant

  to the Sixth Amendment of the United States Constitution, Title 18, United States Code,

  Section 3161, Federal Rule of Criminal Procedure 48(b), and any applicable Local Rules of the

  United States District Court for the Eastern District of New York for the deferral period.

                 2.     The DOJ will, upon execution of this Deferred Prosecution Agreement

  (the “Agreement”) by all parties and approval by the Court of an exclusion of time under this

  Agreement, promptly notify the Minister of Justice of Canada that it is withdrawing its request

  for MENG’s extradition.
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                 3.      The Offices will recommend to the Court that MENG be released on a

  personal recognizance bond with the Standard Conditions of Release, including that she not

  commit any federal, state, or local crime. In that regard, however, the Offices agree that the

  Standard Condition of Release (2) (related to a DNA sample) is inapplicable to this case, the

  Offices do not recommend imposing a reporting requirement, and the balance of the conditions

  would apply to conduct within the jurisdiction of the United States. MENG agrees that, during

  the deferral period, she will comply with all conditions of this agreement and the Court’s order

  setting conditions of release.

                 4.      The Offices agree that, if MENG is in full compliance with her obligations

  under this Agreement for the deferral period, they will move to dismiss the Indictment against

  her, as well as the underlying charging instruments against her, with prejudice and will not bring

  any criminal charges against her in connection with conspiracy to commit bank fraud, conspiracy

  to commit wire fraud, bank fraud, and wire fraud, as set forth in Counts Four, Six, Seven and

  Nine of the Indictment, respectively, or for any of the charges against her in the underlying

  charging instruments in this matter. Ms. Meng’s appearance will not be required for the dismissal.

                 5.      If MENG fails to comply with her obligations under this Agreement, (a)

  the Office will be released from its obligations under paragraph 4 above, and (b) prosecutions

  that are not time-barred by the applicable statutes of limitation on the date the Agreement is

  signed may be commenced against MENG, notwithstanding the expiration of the statutes of

  limitation between the signing of the Agreement and the commencement of any such

  prosecutions. MENG further agrees that venue for any such prosecution would be proper in the

  Eastern District of New York and that she will not contest venue in any such prosecution.

                 6.      MENG stipulates that she has reviewed the facts described in the Statement

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  of Facts, attached as Exhibit A to this Agreement and incorporated by reference, with the

  undersigned counsel and a translator, and that all of the facts in the Statement of Facts are true

  and accurate to the best of her information and belief. Should the Offices pursue the prosecution

  that is deferred by this Agreement, MENG stipulates to the admissibility of the Statement of

  Facts, attached as Exhibit A to this Agreement, in any proceeding against her, including any trial,

  guilty plea, or sentencing proceeding, and will not contradict anything in the Statement of Facts at

  any such proceeding.

                 7.      MENG agrees that her entry into this Agreement in general, and in

  particular that her agreement that the Statement of Facts is true and accurate, is being made

  knowingly and voluntarily. MENG further agrees that she, and her lawyers and representatives

  authorized to speak on her behalf, will not make any statements after entry into this Agreement

  that: (1) contradict any of the facts in the Statement of Facts; or (2) state, suggest, or imply in any

  way that her entry into this Agreement was involuntary, unknowing or coerced. Any such

  statements by MENG, her lawyers, or her representatives will constitute a breach of agreement

  under the terms of Paragraph 5.

                 8.      MENG irrevocably waives any and all claims for relief, demands, rights,

  and causes of action of whatsoever kind and nature arising from, and by reason of any and all

  known and unknown, foreseen and unforeseen, personal injury and monetary damage and the

  consequences thereof which she may have or hereafter acquire against the United States of

  America and its agents, servants, and employees in connection with or on account of the

  captioned case and its subject matter, including any future claim or lawsuit of any kind or type

  whatsoever, and whether for compensatory or exemplary damages, including without limitation

  any claim under the “Hyde Amendment,” 18 U.S.C. § 3006A note. The foregoing waiver is

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                                           ATTACHMENT A

                                        STATEMENT OF FACTS

           Huawei Technologies Co., Ltd. (“Huawei”) has been charged with a total of 16 counts in
   the U.S. District Court in the Eastern District of New York (“EDNY”), and two Huawei
   subsidiaries have been charged with nine counts in the U.S. District Court for the Western
   District of Washington. See United States v. Huawei Technologies Co., Ltd., et al., 18-CR-457
   (E.D.N.Y.), Dkt. No. 126 (the “EDNY Indictment”). Meng Wanzhou, Huawei’s Chief Financial
   Officer, has also been charged in four of the counts in the EDNY Indictment. Ms. Meng and the
   U.S. Department of Justice—the Criminal Division’s Money Laundering and Asset Recovery
   Section, the National Security Division’s Counterintelligence and Export Control Section, and
   the U.S. Attorney’s Office for the Eastern District of New York (the “Government”)—have
   agreed to enter into a Deferred Prosecution Agreement (the “Agreement”) in connection with
   the EDNY Indictment.

         The following Statement of Facts is incorporated by reference as part of the
   Agreement between Ms. Meng and the Government.

                                             *      *      *

           Huawei is a Chinese company headquartered in Shenzhen, Guangdong, and a leading
   global provider of information and communications technology. Huawei, including its corporate
   subsidiaries and affiliates, employs more than 197,000 people and operates in over 170 countries
   and regions.

          Ms. Meng is a Chinese citizen and the daughter of Huawei’s founder, Ren Zhengfei, and
   since 2010 has served as Huawei’s Chief Financial Officer. Ms. Meng also serves as Deputy
   Chairwoman of Huawei’s Board of Directors.

            Skycom Tech. Co. Ltd. (“Skycom”) was a Hong Kong company that primarily operated
   in Iran. As of February 2007, Skycom was wholly owned by Huawei subsidiary Hua Ying
   Management (“Hua Ying”). In November 2007, Hua Ying transferred its shares of Skycom to
   another entity that Huawei controlled, Canicula Holdings (“Canicula”). At the time Hua Ying
   transferred its Skycom shares to Canicula, Ms. Meng was the Secretary of Hua Ying.

           In February 2008, after Huawei transferred ownership of Skycom from Hua Ying to
   Canicula, Ms. Meng joined Skycom’s Board of Directors, which was comprised of Huawei
   employees. She served on the Board until April 2009. After Ms. Meng departed from Skycom’s
   Board, Skycom’s Board members continued to be Huawei employees, Canicula continued to
   own Skycom, and Canicula continued to be controlled by Huawei. As of August 2012, Huawei
   included Skycom among a list of “other Huawei subsidiaries” in Huawei corporate documents
   written in English.1

          Between 2010 and 2014 (the “Relevant Time Period”), Huawei controlled Skycom’s
   business operations in Iran, and Skycom was owned by an entity controlled by Huawei. All

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              Skycom ceased to exist no later than 2017.
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   significant Skycom business decisions were made by Huawei. Moreover, Skycom’s country
   manager—the head of the business—was a Huawei employee. Individuals employed by Skycom
   believed they worked for Huawei. Indeed, Skycom employees used email addresses with the
   domain “huawei.com.”

           During the Relevant Time Period, Huawei employees engaged with a U.K. staffing
   company to provide engineers in Iran to support Skycom’s work with Iranian
   telecommunications service providers. Negotiations and contracting on behalf of Skycom were
   conducted by Huawei employees. To pay for these contractors, Huawei sent at least $7.5 million
   to the U.K. staffing company in a series of approximately 80 payments from Skycom’s bank
   accounts in Asia, including at a multinational financial institution (“Financial Institution 1”), to
   the U.K. staffing company’s account in the United Kingdom. The transactions were denominated
   in U.S. dollars and cleared through the United States.

           In December 2012 and January 2013, various news organizations, including Reuters,
   reported that Skycom offered to sell “embargoed” equipment from a U.S. computer equipment
   manufacturer in Iran in potential violation of U.S. export controls law, and that Huawei had close
   ties with Skycom. In a statement to Reuters published in a December 2012 article, Huawei
   claimed that Skycom was one of its “major local partners” in Iran. Reuters reported that Huawei
   had further stated that “Huawei’s business in Iran is in full compliance with all applicable laws
   and regulations including those of the U.N., U.S. and E.U. This commitment has been carried out
   and followed strictly by our company. Further, we also require our partners to follow the same
   commitment and strictly abide by the relevant laws and regulations.”

          In January 2013, a subsequent Reuters article reported that Ms. Meng had served on the
   Board of Directors of Skycom between February 2008 and April 2009 and identified other
   connections between Skycom directors and Huawei. The article also quoted a statement from
   Huawei that: “The relationship between Huawei and Skycom is a normal business partnership.
   Huawei has established a trade compliance system which is in line with industry best practices
   and our business in Iran is in full compliance with all applicable laws and regulations including
   those of the UN. We also require our partners, such as Skycom, to make the same
   commitments.” This statement was incorrect, as Huawei operated and controlled Skycom;
   Skycom was therefore not Huawei’s business “partner.”

            After these articles were published, Financial Institution 1 and other global financial
   institutions that provided international banking services to Huawei (collectively, the “Financial
   Institutions”), including U.S. dollar-clearing, made inquiries to Huawei in response to the above-
   described press reports. In early 2013, Huawei employees represented to the Financial
   Institutions that Skycom was just a local business partner of Huawei in Iran and that Skycom had
   not conducted Iran-related transactions using its accounts at the Financial Institutions.

            To address the allegations in the news reports, Huawei requested an in-person meeting
   with a senior Financial Institution 1 employee. That meeting occurred on August 22, 2013 (the
   “August Meeting”), at which time Ms. Meng met in Hong Kong with an executive of Financial
   Institution 1 responsible for operations in the Asia Pacific region. During the meeting, Ms.
   Meng delivered a PowerPoint presentation written in Chinese, which was translated by an

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 interpreter into English. Ms. Meng stated that she was using an interpreter to be precise in her
 language.

          In her presentation, Ms. Meng stated, among other things, that Huawei’s relationship with
 Skycom was “normal business cooperation” and “normal and controllable business cooperation,”
 and she described Skycom as a “partner,” a “business partner of Huawei,” and a “third party
 Huawei works with” in Iran. Those statements were untrue because, as Ms. Meng knew, Skycom
 was not a business partner of, or a third party working with, Huawei; instead, Huawei controlled
 Skycom, and Skycom employees were really Huawei employees. It would have been material to
 Financial Institution 1 to know that Huawei controlled Skycom. In addition, Ms. Meng stated that
 Huawei “was once a shareholder of Skycom” but had “sold all its shares in Skycom.” Those
 statements were untrue, because, as Ms. Meng knew, Huawei had “sold” its shares to an entity
 that Huawei controlled. Specifically, Huawei transferred Skycom shares from a Huawei
 subsidiary (Hua Ying) to another entity that was controlled by Huawei (Canicula). It would have
 been material to Financial Institution 1 to know that Skycom was transferred from one Huawei-
 controlled entity to another. Finally, Ms. Meng stated that Huawei “operates in Iran in strict
 compliance with applicable laws, regulations and sanctions” and that “there has been no violation
 of export control regulations” by “Huawei or any third party Huawei works with.” These
 statements were untrue because Huawei’s operation of Skycom, which caused the Financial
 Institutions to provide prohibited services, including banking services, for Huawei’s Iran-based
 business while Huawei concealed Skycom’s link to Huawei, was in violation of the U.S.
 Department of the Treasury’s Office of Foreign Assets Control’s Iranian Transactions and
 Sanctions Regulations, 31 C.F.R. Part 560. Moreover, during the Relevant Time Period, Huawei
 caused Skycom to conduct approximately $100 million worth of U.S.-dollar transactions through
 Financial Institution 1 that cleared through the United States, at least some of which supported its
 work in Iran in violation of U.S. law, including $7.5 million for Iran-based contractors from the
 U.K. staffing company to do work in Iran.

         At no point during or after the August Meeting did Ms. Meng, who was aware of
 Huawei’s public statements about Skycom published by Reuters, retract or amend any of those
 statements. Moreover, Huawei’s Treasurer, who also attended the August Meeting, did not
 correct or amend any of the statements made by Ms. Meng.

         During the Relevant Time Period, Ms. Meng possessed a computer file that contained
 “Suggested Talking Points” about Huawei’s relationship with Skycom that closely tracked the
 untrue statements made during the meeting in Hong Kong. Specifically, that file contained the
 following text, written in Chinese: “The core of the suggested talking points regarding
 Iran/Skycom: Huawei’s operation in Iran comports with the laws, regulations and sanctions as
 required by the United Nations, the United States and the European Union. The relationship
 with Skycom is that of normal business cooperation. Through regulated trade organizations
 and procedures, Huawei requires that Skycom promises to abide by relevant laws and
 regulations and export controls. Key information 1: In the past — ceased to hold Skycom
 shares 1, With regards to cooperation: Skycom was established in 1998 and is one of the
 agents for Huawei products and services. Skycom is mainly an agent for Huawei.”

       Shortly after the August Meeting, Huawei prepared an English version of the
 PowerPoint presentation at Financial Institution 1’s request. Ms. Meng later arranged for a

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 paper copy of that PowerPoint presentation to be delivered to the Financial Institution 1
 executive in September 2013. The representations in the English version of the PowerPoint
 presentation closely tracked the ones Ms. Meng gave during the in-person August Meeting.

          After the August Meeting, and subsequent receipt of the PowerPoint presentation,
 Financial Institution 1 decided to continue its relationship with Huawei. The other Financial
 Institutions similarly continued their respective relationships with Huawei.




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